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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION



United States of America,                                      Case No. 3:19-cr-356

                       Plaintiff,

       v.                                                      MEMORANDUM OPINION
                                                                   AND ORDER

Carrie Mae Gibson,

                       Defendant.

                            I.      INTRODUCTION AND BACKGROUND

       Defendant Carrie Mae Gibson, who currently is under the supervision of the Residential

Reentry Management Field Office located in Cincinnati, Ohio (“RRM Cincinnati”), seeks an order

granting her compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). (Doc. No. 84). The

government filed a brief in response. (Doc. No. 87). Gibson then filed a brief in reply.

       On June 5, 2019, Gibson and two co-defendants were indicted for conspiring to defraud and

to obtain money and property by false and fraudulent pretenses, as well as mail fraud, wire fraud,

and identity theft, among other offenses. (Doc. No. 1). The government subsequently obtained a

superseding indictment. (Doc. No. 24). Gibson pled guilty to the conspiracy charge and to one

count of aggravated identity theft. (See Doc. No. 76 at 1). The government agreed to dismiss the

remaining charges against Gibson. (Doc. No. 79). I subsequently sentenced her six months in

custody as to the conspiracy charge and two years as to the identity theft charge, with the sentences

to run consecutive to each other. (Doc. No. 76 at 2). I also imposed a total term of two years of

supervised release. (Id. at 3). Gibson did not appeal.
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        Gibson filed a motion for compassionate release on June 29, 2021. (Doc. No. 84). She

argues her health conditions, conditions within the Federal Bureau of Prisons (“BOP”) facility in

which she was incarcerated, and her family circumstances warrant a reduction in her sentence. The

government contends Gibson has not met her burden of showing she is entitled to compassionate

release and that a scheduled transfer to community confinement addressed most if not all of

Gibson’s concerns. (See Doc. No. 87 at 2). Gibson was recommended by the Warden’s Office at

Federal Medical Center Lexington for a transfer to home confinement in response to the Covid-19

pandemic, due to her documented medical conditions and the BOP’s assessment of her community

risk level. (Doc. No. 87-4 at 1-2).

                                           II.     ANALYSIS

        The First Step Act of 2018 amended the circumstances under which a court may order a

defendant’s compassionate release from incarceration. While previously a court could modify the

defendant’s compassionate release only after the Director of the BOP filed a motion for release, the

First Step Act now permits a defendant to file a motion for compassionate release “after the

defendant has fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to

bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request

by the warden of the defendant’s facility, whichever is earlier . . . .” 18 U.S.C. § 3582(c)(1)(A).

        “The compassionate release provision permits the district court to reduce a defendant’s

sentence if it finds that ‘extraordinary and compelling reasons’ warrant a reduction; that a reduction

is consistent with the applicable policy statements issued by the Sentencing Commission; and that

the § 3553(a) factors, to the extent they apply, support a reduction.” United States v. Allen, 819 F.

App’x 418, 419 (6th Cir. 2020) (citing 18 U.S.C. § 3582(c)(1)(A)(i)). The district court also must

consider all relevant § 3553(a) factors to determine whether those factors would support a modified

or reduced sentence. United States v. Jones, 980 F.3d 1098, 1114-15 (6th Cir. 2020). “[D]istrict courts


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may deny compassionate-release motions when any of the three prerequisites listed in §

3582(c)(1)(A) is lacking and do not need to address the others.” United States v. Elias, 984 F.3d 516,

519 (6th Cir. 2021) (citing Jones, 980 F.3d at 1108).

        In March 2021, Gibson submitted an administrative request for compassionate release to the

BOP. (Doc. No. 84-6). The BOP denied her request at that point. (Doc. No. 84-7). But the BOP

subsequently reconsidered its decision and Gibson now is serving her sentence on home

confinement. Section 3582(c)(1)(A)’s exhaustion requirement is mandatory and not subject to

waiver, United States v. Alam, 960 F.3d 831, 836 (6th Cir. 2020), and it applies to “federal inmates

who are serving the remainder of their sentences in a residential reentry program” just as it does to

inmates held at a BOP facility. United States v. Lane, No. 2:14-CR-000811-JRG-CRW, 2021 WL

5239132, at *2 (E.D. Tenn. Nov. 10, 2021) (citing cases).

        Gibson has not provided documentation that she has satisfied § 3582(c)(1)(A)’s exhaustion

requirement by submitting an administrative request to the chief executive officer at RRM

Cincinnati. Therefore, I must deny her motion without prejudice. Alam, 960 F.3d at 836.

                                         III.    CONCLUSION

        For these reasons, I deny Gibson’s motion to reduce her sentence under 18 U.S.C. §

3582(c)(1)(A). (Doc. No. 84).

        So Ordered.
                                                        s/ Jeffrey J. Helmick
                                                        United States District Judge




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